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10                          UNITED STATES DISTRICT COURT
11                       EASTERN DISTRICT OF CALIFORNIA
12

13
      UNITED STATES OF AMERICA,                No. 2:03-CR-0371-MCE
14
                     Plaintiff,
15                                             ORDER TO SEAL
            v.                                 DOCUMENTS
16

17    DWAYNE LAMONT SLATER,

18                   Defendant.
19
20
           Good cause having been shown, it is hereby ordered that the declaration of
21
     counsel John Paul Balazs with respect to defendant’s motion to reduce sentence
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     shall be SEALED until ordered unsealed by the Court.
23
           IT IS SO ORDERED.
24

25   Dated: July 17, 2020
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